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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES -REOPENING/CLOSING

Case No. 5:15-cv-01549-VAP(DTBx)                                   Date February 9, 2016

Title: Dorian Daniel, et al. -v- Synchrony Bank, Inc.

Present: The Honorable VIRGINIA A. PHILLIPS, U.S. DISTRICT JUDGE




                   Wendy Rogers                                         None Present
                  Deputy Clerk                                    Court Reporter / Recorder


Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                None                                            None




Proceedings:       G In Court         G
                                      ✘ In Chambers       G Counsel Notified

G Case previously closed in error. Make JS-5.

G Case should have been closed on entry dated                             .

✘ Case settled but may be reopened if settlement is not consummated within
G                                                                                60                days.
  Make JS-6.

✘ Other Notice of Settlement filed on February 8, 2016 [Doc. No. 15].
G

G Entered                                    .




                                                                   Initials of Preparer       wr




CV-74 (10/08)                         CIVIL MINUTES -REOPENING/CLOSING
